                                  Case 19-11466-MFW                   Doc 1       Filed 06/30/19            Page 1 of 17


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Center City Healthcare, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Hahnemann University Hospital
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  230 North Broad Street
                                  Philadelphia, PA 19102
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Philadelphia                                                    Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 19-11466-MFW                  Doc 1        Filed 06/30/19            Page 2 of 17
Debtor    Center City Healthcare, LLC                                                                Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6221

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                               Case number
                                                  District                                 When                               Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See attached Schedule 1                                      Relationship
                                                  District                                 When                           Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                Case 19-11466-MFW                      Doc 1       Filed 06/30/19            Page 3 of 17
Debtor   Center City Healthcare, LLC                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                 Case 19-11466-MFW                     Doc 1        Filed 06/30/19             Page 4 of 17
Debtor    Center City Healthcare, LLC                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 30, 2019
                                                  MM / DD / YYYY


                             X   /s/ Allen Wilen                                                          Allen Wilen
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ Mark Minuti                                                           Date June 30, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark Minuti
                                 Printed name

                                 Saul Ewing Arnstein & Lehr LLP
                                 Firm name

                                 1201 North Market Street
                                 Suite 2300
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-421-6800                  Email address      mark.minuti@saul.com

                                 2659 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                            FORM 201. VOLUNTARY PETITION – Schedule 1

                                 Pending Bankruptcy Cases Attachment

Debtors                                                              District    Relationship
Philadelphia Academic Health System, LLC                             DE          Parent
Philadelphia Academic Medical Associates, LLC                        DE          Affiliate
St. Christopher’s Healthcare, LLC                                    DE          Affiliate
HPS of PA, L.L.C.                                                    DE          Affiliate
TPS of PA, L.L.C.                                                    DE          Affiliate
TPS II of PA, L.L.C.                                                 DE          Affiliate
TPS III of PA, L.L.C.                                                DE          Affiliate
TPS IV of PA, L.L.C.                                                 DE          Affiliate
TPS V of PA, L.L.C.                                                  DE          Affiliate
SCHC Pediatric Associates, L.L.C.                                    DE          Affiliate
SCHC Pediatric Anesthesia Associates, L.L.C.                         DE          Affiliate
StChris Care at Northeast Pediatrics, L.L.C.                         DE          Affiliate
St. Christopher’s Pediatric Urgent Care Center, L.L.C.               DE          Affiliate




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Debtor name Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.

UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                    12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete                                                      Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                                  claim is
mailing address, including zip            email address of creditor contact        claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                              (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                   loans,                               deduction for value of collateral or setoff to
                                                                                   professional                         calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if   Deduction        Unsecured claim
                                                                                   contracts)
                                                                                                                       partially         for value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


1   Tenet Business Services Corporation   Tenet Business Services Corporation      Trade Debt          Disputed                                                 $20,181,981.85
    c/o Tenet Healthcare Corporation      Attn: Michael Maloney
    Attn: Michael Maloney                 Tel: 469-893-6151
    1445 Ross Ave, Ste 1400               Email: Michael.Maloney@tenethealth.com
    Dallas, TX 75202



2   Conifer Patient Communications        Conifer Patient Communications           Trade Debt          Disputed                                                 $19,089,696.47
    Attn: Petra Willey                    Attn: Petra Willey
    140 Fountain Pkwy Ste 500             Tel: 727-570-3637
    St Petersburg, FL 33716               Email: petra.willey@coniferhealth.com




3   Drexel University                     Drexel University                        Trade Debt          Disputed                                                 $14,158,984.05
    Attn: Anthony Esposito                Attn: Anthony Esposito
    3201 Arch St, Ste 420                 Tel: 215-762-1504
    Philadelphia, PA 19104                Email: ame79@drexel.edu




4   Medline Industries Inc                Medline Industries Inc                   Trade Debt                                                                    $3,963,549.96
    Attn: Ron Barrett                     Attn: Ron Barrett
    Three Lakes Dr                        Tel: 847-643-4099
    Northfield, IL 60093                  Fax: 847-949-2287
                                          Email: rbarrett@medline.com



5   Cerner Corp                           Cerner Corp                              Trade Debt                                                                    $3,786,822.75
    Attn: Ian Wilson                      Attn: Ian Wilson
    2800 Rockcreek Pkwy                   Tel: 816-500-0767
    Kansas City, MO 64117                 Fax: 816-936-1920
                                          Email: ian.wilson@cerner.com




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                 Page 1
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Debtor name Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                      Case No. (If known)

                                                                        (Continuation Sheet)

Name of creditor and complete                                                        Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                  claim is
mailing address, including zip              email address of creditor contact        claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                     trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                     loans,                               deduction for value of collateral or setoff to
                                                                                     professional                         calculate unsecured claim.
                                                                                     services, and
                                                                                     government
                                                                                                                         Total Claim, if   Deduction        Unsecured claim
                                                                                     contracts)
                                                                                                                         partially         for value of
                                                                                                                         secured           collateral or
                                                                                                                                           setoff


6   NTT Data Services LLC                   NTT Data Services LLC                    Trade Debt                                                                    $2,537,404.39
    Attn: SubbaRao Pushadapu                Attn: Subbarao Pushadapu
    7950 Legacy Dr, Ste 900                 Email: billing.Inquiry@nttdata.com
    Plano, TX 75024




7   Veolia Energy Philadelphia Inc          Veolia Energy Philadelphia Inc           Trade Debt                                                                    $2,418,298.74
    Attn: Tricia Marts                      Attn: Tricia Marts
    2600 Christian St                       Tel: 267-350-5813
    Philadelphia, PA 19146                  Fax: 215-875-6910
                                            Email: patricia.marts@veolia.com



8   Ensemble Rcm LLC                        Ensemble Rcm LLC                         Trade Debt           Disputed                                                 $2,219,725.54
    Attn: John Erickson                     Attn: John Erickson
    13620 Reese Blvd, Ste 200               Tel: 704-765-3715
    Huntersville, NC 28078                  Email: john.erickson@ensemblehp.com




9   Universal Protection SVS LP             Universal Protection SVS LP              Trade Debt                                                                    $1,802,297.12
    Attn: Al Santosusso                     Attn: Al Santosusso
    1551 North Tustin Ave, Ste 650          Tel: 215-399-3955; 215-868-2644
    Santa Ana, CA 92705                     Email: al.santossusso@aus.com




10 Medtronic Usa Inc                        Medtronic Usa Inc                        Trade Debt                                                                    $1,766,207.01
   Attn: Brian Castelein CBA                Attn: Brian Castelein Cba
   4642 Collections Center Dr               Tel: 763-505-6535
   Chicago, IL 60693                        Fax: 763-367-1404
                                            Email: brian.j.castelein@medtronic.com



11 Depuy Synthes Sales                      Depuy Synthes Sales                      Trade Debt          Disputed                                                  $1,575,896.03
   Customer Receivables Management          Attn: Patty Paget
   Attn: Patty Paget                        Tel: 610-314-2956
   Highway 22 N                             Fax: 908-429-4999
   Somerville, NJ 08876-1051                Email: ppaget@its.jnj.com




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                 Page 2
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Debtor name Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                     Case No. (If known)

                                                                    (Continuation Sheet)

Name of creditor and complete                                                       Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                                  claim is
mailing address, including zip             email address of creditor contact        claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                               (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                    trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                    loans,                               deduction for value of collateral or setoff to
                                                                                    professional                         calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                                                        Total Claim, if   Deduction        Unsecured claim
                                                                                    contracts)
                                                                                                                        partially         for value of
                                                                                                                        secured           collateral or
                                                                                                                                          setoff


12 Crothall Healthcare Inc                 Crothall Healthcare Inc                  Trade Debt                                                                    $1,385,555.85
   Attn: Dennis Czaplicki                  Attn: Dennis Czaplicki
   13028 Collections Ctr Dr                Tel: 215-694-5351
   Chicago, IL 60693                       Email: Dennis.czaplicki@crothall.com




13 Ernst & Young LLP                       Ernst & Young LLP                        Professional                                                                  $1,239,278.05
   Attn: Amy Dorfmeister                   Attn: Amy Dorfmeister                    Services
   Pittsburg Natl Bank 640382              Tel: 215-448-5000
   c/o Ernst & Young Us LLP                Email: amy.doffmeister@ey.com
   1 PPG Pl #2100
   Pittsburgh, PA 15264



14 Temple Univ Hospital                    Temple Univ Hospital                     Trade Debt                                                                    $1,197,893.57
   Cashier Office                          Tel: 877-711-7520
   3401 No Broad St, Rm A 131              Fax: 215-204-4660
   Philadelphia, PA 19140




15 Champion Energy                         Champion Energy                          Trade Debt                                                                    $1,103,204.69
   Attn: Nicole Hassler                    Attn: Nicole Hassler
   1500 Rankin Rd, Ste 200                 Tel: 832-957-4504
   Houston, TX 77073                       Fax: 281-653-1810
                                           Email: nicole.cates@champion.energy



16 Renal Treatment Centers Se LP -         Renal Treatment Centers Se LP - Davita   Trade Debt                                                                      $903,640.47
   Davita                                  Attn: Clenn Frost
   Attn: Clenn Frost                       Tel: 800-633-9757
   2476 East Swedesford Rd, Ste 150        Fax: 877-803-1534
   Malvern, PA 19355                       Email: angel.Baltazar@davita.com




17 American Red Cross                      American Red Cross                       Trade Debt                                                                      $900,713.67
   Attn: Tara Smalls                       Attn: Tara Smalls
   430 17th St NW                          Tel: 704-943-6914
   Washington, DC 20006                    Fax: 704-943-7389
                                           Email: Tara.Smalls@redcross.org




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                 Page 3
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Debtor name Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                    Case No. (If known)

                                                                    (Continuation Sheet)

Name of creditor and complete                                                      Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                                  claim is
mailing address, including zip            email address of creditor contact        claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                              (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                   loans,                               deduction for value of collateral or setoff to
                                                                                   professional                         calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if   Deduction        Unsecured claim
                                                                                   contracts)
                                                                                                                       partially         for value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


18 Quality Systems Inc                    Quality Systems Inc                      Trade Debt                                                                      $881,603.18
   18111 Von Karman Ave, Ste 700          Tel: 855-657-4373
   Irvine, CA 92612                       Email: irvinetax@nextgen.com;
                                          ir@nextgen.com




19 Olympus America Inc                    Olympus America Inc                      Trade Debt                                                                      $813,179.36
   Attn: Eric Vautrin                     Attn: Eric Vautrin
   3500 Corporate Pkwy                    Tel: 484-896-3403
   Center Valley, PA 18034-0610           Fax: 484-896-7788
                                          Email: eric.wautrin@olympus.com



20 Global Neurosciences Institute         Global Neurosciences Institute           Trade Debt                                                                      $802,676.33
   Attn: Donald J Damico                  Attn: Donald J Damico
   3100 Princeton Pk, Bldg 3, Ste D       Tel: 215-962-9600
   Lawrenceville, NJ 08648                Email: ddamico@gnineuro.org




21 Optuminsight                           Optuminsight                             Trade Debt                                                                      $733,890.77
   Attn: Nick Gulland                     Attn: Nick Gulland
   11000 Optum Cir                        Tel: 952-205-6984
   Eden Prairie, MN 55344                 Fax: 855-244-4448
                                          Email: nicholas.gulland@optum.com



22 Greater Delaware Valley Society        Greater Delaware Valley Society          Trade Debt                                                                      $697,400.00
   Attn: Stacy Cramer                     Attn: Stacy Cramer
   401 N 3Rd St                           Tel: 215-557-8090 ext1309
   Philadelphia, PA 19123                 Email: SCramer@donors1.org




23 City Of Philadelphia                   City Of Philadelphia                     Government                                                                      $649,769.35
   Attn: Rob Dubow                        Attn: Rob Dubow                          Contracts
   Code Violation Enforcement Div         Tel: 215-686-6141
   P.O. Box 56318                         Email: voucherverification@phila.gov
   Philadelphia, PA 19130




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                 Page 4
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Debtor name Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                                     Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                       Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                                claim is
mailing address, including zip               email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                               (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                    trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                    loans,                               deduction for value of collateral or setoff to
                                                                                    professional                         calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                                                        Total Claim, if   Deduction        Unsecured claim
                                                                                    contracts)
                                                                                                                        partially         for value of
                                                                                                                        secured           collateral or
                                                                                                                                          setoff


24 Nthrive Inc                               Nthrive Inc                            Trade Debt                                                                      $618,339.28
   Attn: Kay Ennis                           Attn: Kay Ennis
   200 North Point Center E, Ste 600         Tel: 334-728-2805
   Alpharetta, GA 30022                      Email: kennis@nthrive.com




25 Benefit Fund For Hosp & Health            Benefit Fund For Hosp & Health         Trade Debt                                                                      $564,691.86
   1319 Locust St                            Tel: 215-735-5720
   Philadelphia, PA 19107                    Fax: 215 -985-9232
                                             Email: info@1199cfunds.org




26 Premier Healthcare Solutions              Premier Healthcare Solutions           Trade Debt                                                                      $563,349.66
   Attn: Kelley Maskeri                      Attn: Kelley Maskeri
   5882 Collections Center Dr                Tel: 704-816-6123
   Chicago, IL 60693                         Fax: 704-733-2114
                                             Email: kelley Maskeri@PremierINc.com



27 Concentra                                 Concentra                              Trade Debt                                                                      $556,777.14
   Attn: Candice Henson                      Attn: Candice Henson
   dba Concentra Medical Centers             Tel: 401-487-8624
   5080 Spectrum Dr, 1200W                   Email: candice_henson@concentra.com
   Addison, TX 75001




28 Ino Therapeutics LLC                      Ino Therapeutics LLC                   Trade Debt                                                                      $546,000.00
   dba Mallinckrodt Pharmaceuticals          Attn: Brooke Mitch
   Attn: Brooke Mitch                        Tel: 484-619-1374
   1425 US Route 206                         Fax: 908-238-6633
   Bedminster, NJ 07921                      Email: brooke.mitch@mnk.com




29 General Electric Co                       General Electric Co                    Trade Debt                                                                      $536,228.76
   Attn: Arushi Chandran                     Attn: Arushi Chandran
   dba Ge Healthcare                         Tel: 888-727-9958
   9900 Innovation Dr                        Email: ARUSHI.CHANDRAN@GE.COM
   Wauwatosa, WI 53226-4856




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               Page 5
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Debtor name Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.                             Case No. (If known)

                                                             (Continuation Sheet)

Name of creditor and complete                                               Nature of the       Indicate if      Amount of unsecured claim
                                     Name, telephone number, and                                claim is
mailing address, including zip       email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                       (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                            trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                            loans,                               deduction for value of collateral or setoff to
                                                                            professional                         calculate unsecured claim.
                                                                            services, and
                                                                            government
                                                                                                                Total Claim, if   Deduction        Unsecured claim
                                                                            contracts)
                                                                                                                partially         for value of
                                                                                                                secured           collateral or
                                                                                                                                  setoff


30 Smith & Nephew                    Smith & Nephew                         Trade Debt                                                                      $533,436.17
   Attn: Peter J Butera              Attn: Peter J Butera
   150 Minuteman Rd                  Tel: 941-724-8959
   Andover, MA 01810                 Email: peter.butera@smith-nephew.com




 Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               Page 6
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                          )
In re:                                                    ) Chapter 11
                                                          )
CENTER CITY HEALTHCARE, LLC, et al.,1                     ) Case No. 19-_____ (____)
                                                          )
                                       Debtors.           ) Joint Administration Requested
                                                          )
                                                          )

                         COMBINED CORPORATE OWNERSHIP STATEMENT
                       AND LIST OF EQUITY SECURITY HOLDERS PURSUANT TO
                           FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), and 7007.1

                Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

  Procedure, Center City Healthcare, LLC and certain of its affiliates, who are debtors and debtors

  in possession in the above-captioned cases (each a “Debtor” and collectively, the “Debtors”),

  hereby state as follows:

                1.          Debtor Philadelphia Academic Health System, LLC (“PAHS”) is 100% owned by
                            non-debtor Philadelphia Academic Health Holdings, LLC.

                2.          Debtors Philadelphia Academic Medical Associates, LLC (“PAMA”), Center
                            City Healthcare, LLC, and St. Christopher’s Healthcare, LLC are each 100%
                            owned by PAHS.

                3.          Debtors HPS of PA, L.L.C., SCHC Pediatric Associates, L.L.C. (“SCHC
                            Pediatrics”), SCHC Pediatric Anesthesia Associates, LLC, StChris Care at
                            Northeast Pediatrics, L.L.C., and TPS of PA, L.L.C. (“TPS”) are each 100%
                            owned by PAMA.


  1
                The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
                identification number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health
                System, LLC (8681), St. Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical
                Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527),
                St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric Anesthesia
                Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA,
                L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C.
                (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad
                Street, Philadelphia, Pennsylvania 19102.


                                                          1
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              4.          Debtor St. Christopher’s Pediatric Urgent Care Center, L.L.C. is 100% owned by
                          SCHC Pediatrics.

              5.          Debtors TPS II of PA, L.L.C., TPS III of PA, L.L.C., TPS IV of PA, L.L.C., and
                          TPS V of PA, L.L.C. are each 100% owned by TPA.




                                                         2
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                                   Case 19-11466-MFW                         Doc 1        Filed 06/30/19            Page 17 of 17




 Fill in this information to identify the case:

 Debtor name         Center City Healthcare, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration              Combined Statement of Corporate Ownership and List of Equity Security
                                                                          Holders

        I declare under penalty of perjury that the foregoing is true and correct.

         Executed on         June 30, 2019                           X /s/ Allen Wilen
                                                                      Signature of individual signing on behalf of debtor

                                                                      Allen Wilen
                                                                      Printed name

                                                                      Chief Restructuring Officer
                                                                      Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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